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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 SHLOMO SPAR, Individually and On              Case No.
 Behalf of All Others Similarly
 Situated,
                                               CLASS ACTION COMPLAINT
                              Plaintiff,

                     v.                        JURY TRIAL DEMANDED

 CELSION CORPORATION,
 MICHAEL H. TARDUGNO,
 JEFFREY W. CHURCH, and
 NICHOLAS BORYS,

                              Defendants.


      Plaintiff Shlomo Spar (“Plaintiff”), individually and on behalf of all other

persons similarly situated, by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants, alleges the following based upon personal knowledge

as to Plaintiff and Plaintiff’s own acts, and information and belief as to all other

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matters, based upon, inter alia, the investigation conducted by and through

Plaintiff’s attorneys, which included, among other things, a review of the

Defendants’ public documents, conference calls and announcements made by

Defendants, United States (“U.S.”) Securities and Exchange Commission (“SEC”)

filings, wire and press releases published by and regarding Celsion Corporation

(“Celsion” or the “Company”), analysts’ reports and advisories about the Company,

and information readily obtainable on the Internet. Plaintiff believes that substantial

additional evidentiary support will exist for the allegations set forth herein after a

reasonable opportunity for discovery.

                           NATURE OF THE ACTION

      1.     This is a federal securities class action on behalf of a class consisting

of all persons and entities other than Defendants that purchased or otherwise

acquired Celsion securities between November 2, 2015 and July 10, 2020, both dates

inclusive (the “Class Period”), seeking to recover damages caused by Defendants’

violations of the federal securities laws and to pursue remedies under Sections 10(b)

and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule

10b-5 promulgated thereunder, against the Company and certain of its top officials.

      2.     Celsion was founded in 1982 and is headquartered in Lawrenceville,

New Jersey. Celsion is an integrated development clinical stage oncology drug

company that focuses on the development and commercialization of directed


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chemotherapies, DNA-mediated immunotherapy, and RNA-based therapies for the

treatment of cancer.

      3.     Celsion’s lead product candidate is ThermoDox, a heat-activated

liposomal encapsulation of doxorubicin that is in Phase III clinical development for

treating primary liver cancer.

      4.     In February 2014, Celsion announced that the U.S. Food and Drug

Administration (“FDA”) had reviewed and provided clearance for the Company’s

planned pivotal, double-blind, placebo-controlled Phase III trial of ThermoDox in

combination with radio frequency ablation (“RFA”) in primary liver cancer, also

known as hepatocellular carcinoma (“HCC”), called the “OPTIMA Study.” The trial

design was purportedly based on a comprehensive analysis of data from the

Company’s Phase III HEAT Study, which purportedly demonstrated that treatment

with ThermoDox resulted in a 55% improvement in overall survival (“OS”) in a

substantial number of HCC patients that received an optimized RFA treatment.

      5.     The OPTIMA Study was expected to enroll 550 patients globally, with

up to 100 sites in the U.S., Europe, China and Asia Pacific, to evaluate ThermoDox

in combination with RFA. The primary endpoint for the trial was OS, and the

statistical plan called for two interim efficacy analyses by an independent Data

Monitoring Committee (“DMC”).




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         6.   Throughout the Class Period, Defendants made materially false and

misleading statements regarding the Company’s business, operational and

compliance policies.     Specifically, Defendants made false and/or misleading

statements and/or failed to disclose that: (i) Defendants had significantly overstated

the efficacy of ThermoDox; (ii) the foregoing significantly diminished the approval

and commercialization prospects for ThermoDox; and (iii) as a result, the

Company’s public statements were materially false and misleading at all relevant

times.

         7.   On July 13, 2020, Celsion announced that “it ha[d] received a

recommendation from the independent [DMC] to consider stopping the global Phase

III OPTIMA Study of ThermoDox® in combination with [RFA] for the treatment of

[HCC], or primary liver cancer.”              According to the Company, “[t]he

recommendation was made following the second pre-planned interim safety and

efficacy analysis by the DMC on July 9, 2020,” which “found that the pre-specified

boundary for stopping the trial for futility of 0.900 was crossed with an actual value

of 0.903.”

         8.   On this news, Celsion’s stock price fell $2.29 per share, or 63.97%, to

close at $1.29 per share on July 13, 2020.




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      9.     As a result of Defendants’ wrongful acts and omissions, and the

precipitous decline in the market value of the Company’s securities, Plaintiff and

other Class members have suffered significant losses and damages.

                          JURISDICTION AND VENUE

      10.    The claims asserted herein arise under and pursuant to Sections 10(b)

and 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5

promulgated thereunder by the SEC (17 C.F.R. § 240.10b-5).

      11.    This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. § 1331 and Section 27 of the Exchange Act.

      12.    Venue is proper in this Judicial District pursuant to Section 27 of the

Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b). Celsion is headquartered

in this Judicial District, Defendants conduct business in this Judicial District, and a

significant portion of Defendants’ activities took place within this Judicial District.

      13.    In connection with the acts alleged in this complaint, Defendants,

directly or indirectly, used the means and instrumentalities of interstate commerce,

including, but not limited to, the mails, interstate telephone communications, and the

facilities of the national securities markets.




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                                     PARTIES

      14.    Plaintiff, as set forth in the attached Certification, acquired Celsion

securities at artificially inflated prices during the Class Period and was damaged

upon the revelation of the alleged corrective disclosures.

      15.    Defendant Celsion is a Delaware corporation with principal executive

offices located at 997 Lenox Drive, Suite 100, Lawrenceville, New Jersey 08648.

Celsion securities trade in an efficient market on the Nasdaq Capital Market

(“NASDAQ”) under the symbol “CLSN.”

      16.    Defendant Michael H. Tardugno (“Tardugno”) has served as Celsion’s

President and Chief Executive Officer at all relevant times.

      17.    Defendant Jeffrey W. Church (“Church”) has served as Celsion’s

Executive Vice President and Chief Financial Officer at all relevant times.

      18.    Defendant Nicholas Borys (“Borys”) has served as Celsion’s Chief

Medical Officer at all relevant times, has served as Celsion’s Executive Vice

President since February, 2019, and served as Senior Vice President from prior to

the start of the Class Period until February, 2019.

      19.    Defendants Tardugno and Church are sometimes referred to herein as

the “Individual Defendants.”

      20.    The Individual Defendants possessed the power and authority to control

the contents of Celsion’s SEC filings, press releases, and other market


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communications. The Individual Defendants were provided with copies of Celsion’s

SEC filings and press releases alleged herein to be misleading prior to or shortly

after their issuance and had the ability and opportunity to prevent their issuance or

to cause them to be corrected. Because of their positions with Celsion, and their

access to material information available to them but not to the public, the Individual

Defendants knew that the adverse facts specified herein had not been disclosed to

and were being concealed from the public, and that the positive representations being

made were then materially false and misleading. The Individual Defendants are

liable for the false statements and omissions pleaded herein.

      21.    Celsion and the Individual Defendants are collectively referred to

herein as “Defendants.”

                        SUBSTANTIVE ALLEGATIONS

                                    Background

      22.    Celsion was founded in 1982 and is headquartered in Lawrenceville,

New Jersey. Celsion is an integrated development clinical stage oncology drug

company that focuses on the development and commercialization of directed

chemotherapies, DNA-mediated immunotherapy, and RNA-based therapies for the

treatment of cancer.




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      23.    Celsion’s lead product candidate is ThermoDox, a heat-activated

liposomal encapsulation of doxorubicin that is in Phase III clinical development for

treating primary liver cancer.

      24.    In February 2014, Celsion announced that the FDA had reviewed and

provided clearance for the Company’s planned pivotal, double-blind, placebo-

controlled Phase III trial of ThermoDox in combination with RFA in primary liver

cancer, also known as HCC, called the “OPTIMA Study.” The trial design was

purportedly based on a comprehensive analysis of data from the Company’s Phase

III HEAT Study, which purportedly demonstrated that treatment with ThermoDox

resulted in a 55% improvement in OS in a substantial number of HCC patients that

received an optimized RFA treatment.

      25.    The OPTIMA Study was expected to enroll 550 patients globally, with

up to 100 sites in the U.S., Europe, China and Asia Pacific, to evaluate ThermoDox

in combination with RFA. The primary endpoint for the trial was OS, and the

statistical plan called for two interim efficacy analyses by an independent DMC.

 Materially False and Misleading Statements Issued During the Class Period

      26.    The Class Period begins on November 2, 2015, when, during pre-

market hours, Celsion issued a press release announcing “the presentation of data

from the Company’s HEAT Study, highlighting the curative potential for

ThermoDox® plus optimized [RFA] in intermediate primary liver cancer, also


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known as [HCC], as well as preclinical data on the correlation of heating duration

during RFA in combination with ThermoDox.” Specifically, that press release

touted, in relevant part:

      “There is clear evidence that the duration of the RFA regimen is critical
      when treating patients with ThermoDox,” said Professor Tak, lead
      investigator in South Korea for the Company’s HEAT and OPTIMA
      studies. “Findings from the data presented at ACTA, including the
      multivariate analysis, HEAT Study data demonstrating compelling
      survival outcomes and supportive preclinical data, underscore the
      importance of Celsion’s ongoing OPTIMA Study, which is designed to
      demonstrate the potential of ThermoDox with an optimized RFA
      regimen in this setting.”

      27.    Moreover, the press release quoted Dr. Shi-Ming Lin, lead investigator

in Taiwan for the Company’s HEAT and OPTIMA studies, who stated, in relevant

part, “[t]he totality of the data presented demonstrate that ThermoDox plus

optimized RFA has a strong potential to serve as a curative therapy for patients with

liver cancer, where there exists a strong unmet need for effective treatment options.”

      28.    On November 7, 2015, Celsion hosted an earnings call with investors

ana analysts to discuss the Company’s financial and operating results for the third

quarter of 2015 (the “Q3 2015 Earnings Call”). On the Q3 2015 Earnings Call,

Defendant Tardugno made multiple positive statements regarding ThermoDox and

the OPTIMA study, including, in relevant part:

      The message from the medical community could not be clearer, the
      OPTIMA Study based on convincing timings from the OS subgroup
      that we’ve been following, has the potential to be the best and perhaps
      the only new opportunity for HCC patients in the foreseeable future.
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                                        ***

      We view the OPTIMA study as a highly U.S. pivotal trial with strong
      supportive data from the HEAT Study further supported by multi-
      variate analyses and with the prospect of revealing preclinical data,
      while our competing trials can [add a deviant] to our primary liver
      cancer at this time.

      29.    On May 16, 2016, Celsion issued a press release entitled, “Celsion

Corporation Reports First Quarter 2016 Financial Results and Provides Business

Update,” touting, in relevant part:

      Mr. Tardugno continued, “We have made great strides to advance our
      global Phase III OPTIMA Study evaluating ThermoDox® in primary
      liver cancer with clinical sites currently enrolling patients in 13
      countries world-wide. With enrollment now open in China and
      approximately 50% of the 850,000 new cases of primary liver cancer
      diagnosed each year originating there, China represents a significant
      market opportunity and key element of our global development and
      commercialization strategy for ThermoDox®.

      30.    That same day, Celsion hosted an earnings call with investors and

analysts to discuss the Company’s financial and operating results for the first quarter

of 2016 (the “Q1 2016 Earnings Call”). On the call, Defendant Tardugno made

multiple positive statements regarding Thermodox and the OPTIMA study,

including, in relevant part:

      In summary, primary liver cancer represents the largest unmet medical
      need remaining in oncology. We are committed to fully exploring the
      potential that ThermoDox has demonstrated so far. We are pleased with
      the progress we have seen in the OPTIMA trial and we remain on track
      to complete enrollment on or around, tough, now with China coming
      on, on or around the end of 2017. That would be followed by a
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      preplanned interim efficacy analysis, the first of two which should read
      out in the first half of 2018.

      31.   On July 11, 2016, Celsion issued a press release entitled, “Celsion

Announces Presentation Highlighting Phase III OPTIMA Study at the Asia-Pacific

Primary Liver Cancer Expert Meeting,” which touted, in relevant part:

      “The strength of the preclinical and clinical data to date reinforces our
      confidence in the potential of ThermoDox in HCC and for a successful
      trial outcome,” stated Michael H. Tardugno, Celsion’s chairman,
      president and chief executive officer. “We are extremely encouraged
      with the investigators’ interest and enthusiasm for our approach. With
      the trial enrolling patients in 13 countries, and in 9 of up to 20 sites in
      the Peoples Republic of China, we remain focused on the efficient
      execution of the only active Phase III study in newly diagnosed HCC
      patients.”

      32.   On August 15, 2016, Celsion issued a press release entitled, “Celsion

Corporation Reports Second Quarter 2016 Financial Results and Provides Business

Update,” which touted, in relevant part:

      Mr. Tardugno continued, “We have also made great strides to advance
      our global Phase III OPTIMA Study evaluating ThermoDox® in
      primary liver cancer, with clinical sites currently enrolling patients in
      13 countries worldwide. In addition, data presentations and
      publications in multiple peer-reviewed forums continue to highlight the
      potential for a curative approach of ThermoDox® plus optimized
      RFA.[“]

      33.   That same day, Celsion hosted an earnings call with investors and

analysts to discuss the Company’s financial and operating results for the second

quarter of 2016 (the “Q2 2016 Earnings Call”). On the Q2 2016 Earnings Call,



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Defendant Tardugno made multiple positive statements regarding Thermodox and

the OPTIMA study, including, in relevant part:

      So in summary, primary liver cancer represents the largest unmet
      medical need in oncology, we are committed to fully exploring the
      potential of ThermoDox which has demonstrated thus far and we are
      pleased with further progress we’ve seen in our OPTIMA trial and
      remain on-track to complete enrollment and/or in or around the end of
      2017 followed by a preplanned interim efficacy analysis, hopefully the
      first and only but we have two preplanned in the study followed by the
      preplanned interim efficacy analysis read on in 2018.

      34.   On November 10, 2016, Celsion issued a press release entitled,

“Celsion Corporation Reports Third Quarter 2016 Financial Results and Provides

Business Update,” which stated, in relevant part:

      Mr. Tardugno continued, “Our ongoing global, pivotal Phase III
      OPTIMA Study of ThermoDox® in primary liver cancer remains on
      track with clinical sites currently enrolling patients in 13 countries
      worldwide. Investigators continue to recognize the value of findings
      from the HEAT Study and their continued interest reinforces
      substantial and mounting support for the OPTIMA Study. The recent
      independent analysis conducted by the National Institutes of Health
      provides further confirmatory support indicating that the use of
      radiofrequency ablation (RFA) for more than 45 minutes in patients
      treated with ThermoDox® can have a correlative impact on reductions
      in tumor size and overall survival in patients with primary liver cancer.”

      35.   On November 11, 2016, Celsion hosted an earnings call with investors

and analysts to discuss the Company’s financial and operating results for the third

quarter of 2016 (the “Q3 2016 Earnings Call”). On the Q3 2016 Earnings Call,

Defendant Tardugno made multiple positive statements regarding ThermoDox and

the OPTIMA study, including, in relevant part, “at the same time, data supporting
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the OPTIMA study become stronger, if not encounter vertical with each analysis,

now for over four years, no matter whether conducted by Celsion or independently

scrutinized.”

      36.       On November 30, 2016, Celsion issued a press release announcing “that

following a review of data from [the OPTIMA Study], the study’s [DMC] ha[d]

unanimously recommended that the trial continue enrollment.” Specifically, that

press release touted, in relevant part:

      “Following the recent presentation by the NIH confirming our
      hypothesis that ThermoDox® in combination with optimized RFA can
      be a treatment with curative intent for HCC, we could not be more
      pleased that the DMC has recommended continuation of the OPTIMA
      Study without modification. Based on their review of all the available
      study data, the DMC has concluded that ThermoDox is safe for newly
      diagnosed, intermediate stage patients and that the study is being
      conducted according to the highest of clinical research standards,” said
      Michael H. Tardugno, Celsion’s chairman, president and chief
      executive officer. “We remain optimistic and encouraged by this
      decision, and by the potential that ThermoDox® has consistently
      demonstrated in patients with primary liver cancer, a patient population
      in dire need of new therapeutic options.”

      37.       On December 16, 2016, Celsion issued a press release announcing

progress with ThermoDox development efforts in China and Asia Pacific, which

touted, in relevant part:

      “We are building momentum with our efforts for ThermoDox in the
      Asia Pacific region, particularly China, which represents a significant
      market opportunity with over 50% of new diagnosed cases of this
      devastating cancer,” stated Michael H. Tardugno, Celsion’s chairman,
      president and chief executive officer. “[. . .] We believe that the
      remarkable data from the Chinese cohort of the HEAT study
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      underscores the potentially curative nature of ThermoDox in patients
      with primary liver cancer, and we are pleased that the CFDA has both
      recognized its potential and offered a straightforward path to a
      regulatory filing in China.”

      38.    On March 16, 2017, Celsion issued a press release entitled, “Celsion

Corporation Reports Year End 2016 Financial Results and Provides Business

Update,” which stated, in relevant part:

      [“]With sound fundamentals, the superb execution of our ongoing
      global, pivotal Phase III OPTIMA Study in primary liver cancer,
      continues to attract interest and support from the medical community,
      international regulatory agencies, and research organizations like the
      National Institutes of Health for this ground-breaking study,” said
      Michael H. Tardugno, Celsion’s chairman, president and CEO.

      39.    That same day, Celsion hosted an earnings call with investors and

analysts to discuss the Company’s financial and operating results for the fourth

quarter and full-year 2016 (the “Q4 2016 Earnings Call”). On the Q4 2016 Earnings

Call, Defendant Tardugno made multiple positive statements regarding ThermoDox

and the OPTIMA study, including, in relevant part:

      During 2016, we made significant progress with our lead trial, the Phase
      3 OPTIMA study, which is evaluating ThermoDox in combination with
      optimized RFA, optimized meaning standardized to a minimum of 45
      minutes across all investigators at all sites for treating larger single
      lesions greater than three centimeters versus optimized RFA alone in
      the same population.

                                       ***

      NIH concluded its discussion in a very well attended to a large
      audience, concluded this discussion with clear and convincing support
      for the OPTIMA study. We believe that this analyses not only advances
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      our understanding of ThermoDox and its potential curative implication,
      that’s not our words we hear that from researchers and presenters quite
      regularly now, the curative implication of a single dose of ThermoDox
      in combination with controlled RFA in patients with larger lesions,
      larger HCC lesions, the curative potential. It also strengthens our
      confidence in our ongoing global Phase 3 OPTIMA study.

      40.    On May 12, 2017, Celsion issued a press release entitled, “Celsion

Corporation Reports First Quarter 2017 Financial Results and Provides Business

Update,” which stated, in relevant part:

      “Celsion continues to make major progress with respect to our ongoing
      global, pivotal Phase III OPTIMA Study in primary liver cancer. This
      ground-breaking study continues to attract interest and support from the
      medical community, international regulatory agencies, and research
      organizations like the National Institutes of Health,” said Michael H.
      Tardugno, Celsion’s chairman, president and CEO.

      41.    That same day, Celsion hosted an earnings call with investors and

analysts to discuss the Company’s financial and operating results for the first quarter

of 2017 (the “Q1 2017 Earnings Call”). On the Q1 2017 Earnings Call, Defendant

Tardugno made multiple positive statements regarding ThermoDox and the

OPTIMA study, including, in relevant part:

      So in summary, with minimal operation risk, we are now looking
      forward to study completion and data. If you believe our many
      analyses that support the OPTIMA study or if you have any
      confidence in the independent opinion of the National Institute of
      Health, then you should have to agree that there are chances of
      success with our OPTIMA study is as good as it gets in our industry.

(Emphasis added).



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      42.    On August 7, 2017, Celsion issued a press release announcing “that the

independent [DMC] for the [the OPTIMA study], has completed a planned interim

analysis of the first 50% of patients randomized in the trial as of April 2017 for safety

and efficacy and unanimously recommended that the study continue according to

protocol to its final data readout based on the risk to benefit analysis by the

Committee.” Specifically, that press release represented, in relevant part:

      [“]Based on their review of all the available study data from 275
      patients enrolled as of April 2017, the DMC has concluded that
      ThermoDox® is safe for newly diagnosed, intermediate stage patients
      and that the study is being conducted according to the highest of clinical
      research standards,” said Nicholas Borys, MD, Celsion’s senior vice
      president and chief medical officer. “A key component of the OPTIMA
      Study protocol is the investigators’ adherence to the recommended
      RFA heating time for tumors greater than 3 cm. We are pleased to
      report that there has been a greater than 99% compliance rate with the
      study protocol.”

                                           ***

      “We are very pleased that the DMC has unanimously recommended
      continuation of the OPTIMA study based on their review of all
      available clinical data, both safety and efficacy, in over 275 patients,”
      stated Mr. Michael H. Tardugno, Celsion’s chairman, president and
      chief executive officer. “The DMC’s affirmative review is further
      evidence of ThermoDox’s potential to provide a new and important first
      line therapeutic option for patients with primary liver cancer.”

      43.    On August 15, 2017, Celsion issued a press release entitled, “Celsion

Corporation Reports Second Quarter 2017 Financial Results and Provides Business

Update,” which stated, in relevant part:



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      Mr. Tardugno continued, “We have also made great strides to advance
      our global Phase III OPTIMA Study evaluating ThermoDox® in
      primary liver cancer, with clinical sites currently enrolling patients in
      14 countries worldwide. In addition, we are pleased to report that the
      independent Data Monitoring Committee recently recommended
      continuation of the OPTIMA Study after their review of the safety and
      efficacy data for 275 patients enrolled in the study.[“]

      44.    That same day, Celsion hosted an earnings call with investors and

analysts to discuss the Company’s financial and operating results for the second

quarter of 2017 (the “Q2 2017 Earnings Call”). On the Q2 2017 Earnings Call,

Defendant Tardugno made multiple positive statements regarding ThermoDox and

the OPTIMA study, including, in relevant part:

      So, with virtually no operational risk and all the major costs behind us,
      we now look forward to study completion and data readout, and if you
      believe the many analyses supporting OPTIMA conducted by the
      company and by others, including an independent analysis of the OS
      data conducted by the National Institutes of Health, that’s the NIH,
      and you have to agree that our chances for success in this very
      important study are quite good.

(Emphasis added).

      45.    On September 27, 2017, Celsion issued a press release providing an

update on ThermoDox in the OPTIMA study of primary liver cancer, which

represented, in relevant part:

      “With independent confirmation by the NIH of the relationship
      between RFA heating time and the significant impact that it has on
      overall survival when combined with ThermoDox®, OPTIMA Study
      investigators fully recognize the value of the findings from the HEAT
      Study, reinforcing their interest and support for our highly de-risked,
      ongoing global Phase III OPTIMA Study,” said Michael H. Tardugno,
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      Celsion’s chairman, president and chief executive officer. “The
      previously announced unanimous recommendation for study
      continuation by the independent Data Monitoring Committee was
      based on their review of all available clinical data from 275 patients,
      and is further evidence of ThermoDox’s recognized potential to provide
      a new and important first line therapeutic option for patients with
      primary liver cancer.”

      46.    That same day, Celsion hosted an earnings call with investors and

analysts to discuss the Company’s financial and operating results for the third quarter

of 2017 (the “Q3 2017 Earnings Call”). On the Q3 2017 Earnings Call, Defendant

Tardugno made multiple positive statements regarding ThermoDox and the

OPTIMA study, including, in relevant part, “the hypothesis is supported with some

of most persuasive and productive perspective and retrospective data that has ever

been taken in my experience for clinical trial. Much of this data analysis were

included and accepted by peer review and recently published manuscript of the

HEAT study in clinical cancer research. It’s a high impact medical journal.”

(Emphasis added).

      47.    On May 11, 2018, Celsion hosted an earnings call with investors and

analysts to discuss the Company’s financial and operating results for the first quarter

of 2018 (the “Q1 2018 Earnings Call”). On the Q1 2018 Earnings Call, Defendant

Tardugno made multiple positive statements regarding ThermoDox and the

OPTIMA study, including, in relevant part, “[o]ur investigators are excited about the

results that concluded that the single dose of ThermoDox with properly administered


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RFA has the potential to be cured. We have been presenting this narrative at multiple

medical conferences over the last number of years.”

      48.    On August 14, 2018, Celsion hosted an earnings call with investors and

analysts to discuss the Company’s financial and operating results for the second

quarter of 2018 (the “Q2 2018 Earnings Call”). On the Q2 2018 Earnings Call,

Defendant Tardugno made multiple positive statements regarding ThermoDox and

the OPTIMA study, including, in relevant part:

      That the final readout of 550 patient studies Optima study powered to
      detect a 33% reduction in the risk for death. The evidence supporting
      the thesis for the Optima study is overwhelming and is based on our
      understanding of the application of RFA for 3 centimeter and larger
      lesions and the survival impact when RFA used correctly that is for 45
      minutes heating and combined with ThermoDox. In 285 patient
      subgroup that was 42% of the entire population from a prior heat study
      a group that was followed every quarter for 2.5 years many time death
      in the treatment arm was never reached after 80 months. That’s more
      than 7.5 years median survival more than two years better than the
      control group, again single dose of ThermoDox with properly used
      RFA in intermediate sized tumors has the potential to be curative now
      that’s not my word that’s the word our investigators are using when
      they present this data to their colleagues.

                                       ***

      This is a problem and ladies and gentlemen if we’re right ThermoDox
      is successful in the OPTIMA study it will be one of the most important
      new drugs in oncology and the generation if not our lifetime I believe
      that sincerely.

(Emphasis added).




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      49.   On March 29, 2019, Celsion hosted an earnings call with investors and

analysts to discuss the Company’s financial and operating performance for the fourth

quarter and full-year 2018 (the “Q4 2018 Earnings Call”). On the Q4 2018 Earnings

Call, Defendant Tardugno made multiple positive statements regarding ThermoDox

and the OPTIMA study, including, in relevant part:

      Among our many accomplishments, I’d like to emphasize that
      enrollment of our pivotal 556 patient global phase 3 OPTIMA study in
      primary liver cancer, also known as HCC, hepatocellular carcinoma,
      was completed ahead of projections in August of 2018. And then we’re
      now looking forward to the first of two pre-planned interim efficacy
      analysis for the OPTIMA study expected later this year. And if needed,
      the second interim will be sometime in mid-2020.

                                      ***

      Our global HCC incidence is about 750,000. It’s growing at about 3%
      annually. This is the largest unmet medical need in oncology today
      irrefutably, the largest unmet medical need remaining on oncology.
      These statistics come from the latest Global Cancer Statistical
      Database. We are well positioned for the market, OPTIMA is being
      conducted in 14 countries in North America, Europe, China and Eastern
      Asia, all the major markets for this indication.

      50.   On August 15, 2019, Celsion hosted an earnings call with investors and

analysts to discuss the Company’s financial and operating performance for the

second quarter of 2019 (the “Q2 2019 Earnings Call”). On the Q2 2019 Earnings

Call, Defendant Tardugno made multiple positive statements regarding ThermoDox

and the OPTIMA study, including, in relevant part:

      And I say perspective, I want to repeat this, I say at every conference
      call. Different than other subgroups, we identified a metric 45 minutes
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      of heating to be critical for ThermoDox in combination with RFA to
      improve survival. We identified those patients in the study who had
      been treated with 45 minutes or more of RFA plus-minus ThermoDox.
      And then we followed them for 3 years to determine an overall survival
      benefit. And what we saw is I’ll repeat again is nothing short of
      remarkable. In this prospective evaluation of patients who are treated
      with standardized RFA more than 45 minutes, they demonstrate a
      median survival of more than 7.5 years when they combine this
      standardized RFA with ThermoDox. And that’s a survival benefit of
      more than two years of the control group who received 45 minutes or
      more of RFA alone. I hope that’s clear.

(Emphasis added).

      51.    On November 4, 2019, Celsion issued a press release entitled, “Celsion

Reports Unanimous Independent Data Monitoring Committee Recommendation to

Continue the Phase III OPTIMA Study of ThermoDox® in Primary Liver Cancer,”

which stated, in relevant part:

      Michael H. Tardugno, Celsion’s chairman, president and chief
      executive officer, said, “We are encouraged by the recommendation of
      the iDMC to continue the OPTIMA Study according to plan. While we
      have not unblinded the study to report a hazard ratio, PFS is tracking
      similarly to the subgroup of patients who received more than 45
      minutes of RFA in our HEAT Study and were followed prospectively
      for more than three years. This subgroup in the HEAT Study
      demonstrated a 2-year overall survival advantage and a median time to
      death of more than 7 ½ years. We believe this tracking bodes well for
      success at our next pre-planned interim efficacy analysis, which is
      intended after a minimum of 158 patient deaths. We also note that the
      median follow-up for survival was only 25 months at time of data cut-
      off, which is too early for OS estimates, particularly when compared to
      the median follow-up for the HEAT Study subgroup which was 67
      months.[“]

(Emphasis added).


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      52.   On November 14, 2019, Celsion issued a press release entitled,

“Celsion Corporation Reports Third Quarter 2019 Financial Results and Provides

Business Update,” which stated, in relevant part:

      “Our focus on shareholder value remains uncompromised as Celsion
      continues to deliver results from our ongoing clinical development
      programs for ThermoDox® and GEN-1. Our smart use of venture debt
      to leverage the holdings of our equity investors, along with our strategy
      to avoid punitive financing deals has worked well for us and our
      shareholders. We enter the fourth quarter with sound fundamentals and
      a strong balance sheet that is expected to fund our clinical programs
      through transformative milestones over the next 16 months,” added Mr.
      Tardugno. “With the first of two preplanned interim efficacy analyses
      for the OPTIMA Study successfully behind us, we look forward to the
      promise and potential for success at the 2nd preplanned analysis, now
      expected to occur in the second quarter of 2020.[“]

                                       ***

      iDMC Unanimously Recommends Continuation of Celsion’s Phase
      III OPTIMA Study for ThermoDox® in Primary Liver Cancer. On
      November 4, 2019 the Company announced that the iDMC
      unanimously recommended the OPTIMA Study continue according to
      protocol. The recommendation was based on a review of blinded safety
      and data integrity from 556 patients enrolled in the Company’s
      multinational, double-blind, placebo-controlled pivotal Phase III study
      with ThermoDox® plus RFA in patients with HCC.

      The iDMC’s pre-planned interim efficacy review followed 128 patient
      events, or deaths, which occurred in August 2019. Data presented
      demonstrated that progression-free survival (PFS) and overall survival
      (OS) data appear to be tracking with patient data observed at a similar
      point in the Company’s 285 patient, well-balanced subgroup of patients
      followed prospectively in the earlier Phase III study (the “Prospective
      Subgroup”) upon which the OPTIMA Study is based. This Prospective
      Subgroup demonstrated a 2-year overall survival advantage and a
      median time to death of more than 7 ½ years.


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      From the data review, the Company believes that the OPTIMA Study
      is well positioned for success at the next pre-planned interim efficacy
      analysis, which is intended after a minimum of 158 patient deaths and
      is projected to occur during the second quarter of 2020. The hazard ratio
      for success at 158 events is 0.70. This is below the hazard ratio of 0.65
      observed for the 285 patients in the HEAT Study Prospective Subgroup
      treated with RFA > 45 minutes.

      53.    On November 15, 2019, Celsion hosted an earnings call with investors

and analysts to discuss the Company’s financial and operating results for the third

quarter of 2019 (the “Q3 2019 Earnings Call”). On the Q3 2019 Earnings Call,

Defendant Tardugno made multiple positive statements ThermoDox and the

OPTIMA study, including, in relevant part:

      I’ll now turn to the positive news regarding the recommendation from
      the DMC from the OPTIMA Study following a review of the unblinded
      data at the first pre-specified interim efficacy analysis. The committee
      unanimously recommended that we continue the study as planned. For
      this analysis, the DMC reviewed data following 128 patient deaths
      which occurred early in August 2019. The committee found no
      evidence of futility or any safety issues of concern in this 556 patient
      study.

                                       ***

      Even more encouraging was the suggestion that they made, that the
      company should consider a compassionate use program in China. We
      see this as a positive, we certainly do; and are making plans under Dr.
      Borys’ direction to launch a program in high volume, high quality
      clinical sites to participate in the OPTIMA Study.

      54.    On March 3, 2020, Celsion published a letter from Defendant Tardugno

to Celsion shareholders, which stated, in relevant part:



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       First, we now count among our stockholders four institutional investors
       that have been following our progress with ThermoDox® over a
       sufficiently long period of time to fully understand our technology and
       the potential for success of our global Phase III OPTIMA Study in
       primary liver cancer, or HCC. As we have said, positive trial results
       will be transformational – for patients with HCC, for physicians, for
       our employees and for you, our stockholders. I believe these new
       investors recognize they are financing a drug development program that
       holds the promise to make a measurable difference for the global
       medical community.

       55.    On April 15, 2020, Celsion issued a press release entitled “Celsion

Reports that Sufficient Events Have Been Reached for the Second Interim Analysis

of the Phase III OPTIMA Study of ThermoDox® in Primary Liver Cancer,” which

stated, in relevant part:

       Michael Tardugno, Celsion’s chairman, president and chief executive
       officer, said, “We look forward to receiving the iDMC’s
       recommendation from this data analysis, and are quite optimistic for a
       positive outcome. Regardless, we believe that the OPTIMA Study is
       ultimately well-positioned for success. [. . .] We base our confidence
       on published pre-clinical data supporting the OPTIMA Study, the
       National Institutes of Health’s independent analysis of and support for
       the Study’s hypothesis, and the OPTIMA Study’s current timeline for
       disease progression and patient death, both tracking in line with the
       prospective HEAT Study subgroup. The prospective subgroup
       demonstrated a remarkable 7 ½ years plus survival when treated with
       ThermoDox® plus RFA. A successful study has “blockbuster” revenue
       potential and more importantly, will be transformational for patients
       with HCC, with over 750,000 incidence annually, the largest unmet
       need in oncology.”

       56.    On May 15, 2020, Celsion hosted an earnings call with investors and

analysts to discuss the Company’s financial and operating results for the first quarter

of 2020 (the “Q1 2020 Earnings Call”). On the Q1 2020 Earnings Call, Defendant
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Tardugno made multiple positive statements regarding ThermoDox and the

OPTIMA study, including, in relevant part:

      We’ve had a great deal of exciting news during the first quarter in
      recent weeks from both of our lead programs, first and critically
      important, our ThermoDox Phase III OPTIMA Study for the
      treatment of newly diagnosed hepatocellular carcinoma or primary
      liver cancer reached the prescribed number of events in April for our
      second pre-planned in term efficacy analysis and I will discuss this
      more in a minute.

                                        ***

      Now, as I said before, we believe that, there’s a very good potential for
      success at this analysis, but of course it’s not a short, the Company
      remains blinded. I’d like to give you some insight into the support for
      our belief that the study is on track for success. Supporting our belief is
      our comparison of the threshold for success to the data from the data
      that OPTIMA Study was based on. The P-value and the hazard ratio for
      OPTIMA success and 158 events are 0.022 and 0.7 respectively. P-
      value for success is 0.022. The hazard ratio for success is 0.70
      respectively.

                                        ***

      I will again remind you also that our confidence of any underlying
      hypothesis supporting the OPTIMA Study is not hours long. Thought
      leaders from the medical community and distinguished scientists have
      weighed in. Conclusions from peer reviewed manuscripts including
      published preclinical data supporting the OPTIMA Study, the public
      HEAT Study manuscript validating the subgroup results, and again,
      the NIH is published analysis in support of the HEAT studies
      hypothesis all pointing in the same direction.

(Emphases added).




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         57.   On June 25, 2020, Celsion issued a press release entitled, “Celsion

Affirms July Timing for Second Interim Analysis of the Phase III OPTIMA Study

of ThermoDox® in Primary Liver Cancer,” which stated, in relevant part:

         Michael H. Tardugno, Celsion’s chairman, president and chief
         executive officer, said, “The iDMC meeting is expected to take place
         as planned and we look forward to receiving their recommendation.
         While we are hopeful for a positive outcome, it is not a binary event for
         the OPTIMA Study. Should the data not reach the threshold for success,
         we believe the OPTIMA Study is ultimately well-positioned for success
         at the final analysis, if necessary. The final analysis would be based on
         197 patient deaths where the hazard ratio for success is 0.75 or a 25%
         reduction in the risk of death, with a p-Value = 0.042. We believe that
         a successful study has blockbuster revenue potential and, more
         importantly, will be globally transformational for patients with HCC,
         the largest unmet need in oncology with more than 750,000 cases
         annually.”

         58.   The statements referenced in ¶¶ 26-57 were materially false and

misleading because Defendants made false and/or misleading statements, as well as

failed to disclose material adverse facts about the Company’s business, operational

and compliance policies. Specifically, Defendants made false and/or misleading

statements and/or failed to disclose that: (i) Defendants had significantly overstated

the efficacy of ThermoDox; (ii) the foregoing significantly diminished the approval

and commercialization prospects for ThermoDox; and (iii) as a result, the

Company’s public statements were materially false and misleading at all relevant

times.




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                                The Truth Emerges

      59.    On July 13, 2020, during pre-market hours, Celsion announced that “it

ha[d] received a recommendation from the independent [DMC] to consider stopping

the global Phase III OPTIMA Study of ThermoDox® in combination with [RFA]

for the treatment of [HCC], or primary liver cancer.” According to the Company,

“[t]he recommendation was made following the second pre-planned interim safety

and efficacy analysis by the DMC on July 9, 2020,” which “found that the pre-

specified boundary for stopping the trial for futility of 0.900 was crossed with an

actual value of 0.903.”

      60.    On this news, Celsion’s stock price fell $2.29 per share, or 63.97%, to

close at $1.29 per share on July 13, 2020.

      61.    As a result of Defendants’ wrongful acts and omissions, and the

precipitous decline in the market value of the Company’s securities, Plaintiff and

other Class members have suffered significant losses and damages.

               PLAINTIFF’S CLASS ACTION ALLEGATIONS

      62.    Plaintiff brings this action as a class action pursuant to Federal Rule of

Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who

purchased or otherwise acquired Celsion securities during the Class Period (the

“Class”); and were damaged upon the revelation of the alleged corrective

disclosures. Excluded from the Class are Defendants herein, the officers and


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directors of the Company, at all relevant times, members of their immediate families

and their legal representatives, heirs, successors or assigns and any entity in which

Defendants have or had a controlling interest.

       63.      The members of the Class are so numerous that joinder of all members

is impracticable. Throughout the Class Period, Celsion securities were actively

traded on the NASDAQ. While the exact number of Class members is unknown to

Plaintiff at this time and can be ascertained only through appropriate discovery,

Plaintiff believes that there are hundreds or thousands of members in the proposed

Class. Record owners and other members of the Class may be identified from

records maintained by Celsion or its transfer agent and may be notified of the

pendency of this action by mail, using the form of notice similar to that customarily

used in securities class actions.

       64.      Plaintiff’s claims are typical of the claims of the members of the Class

as all members of the Class are similarly affected by Defendants’ wrongful conduct

in violation of federal law that is complained of herein.

       65.      Plaintiff will fairly and adequately protect the interests of the members

of the Class and has retained counsel competent and experienced in class and

securities litigation. Plaintiff has no interests antagonistic to or in conflict with those

of the Class.




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      66.       Common questions of law and fact exist as to all members of the Class

and predominate over any questions solely affecting individual members of the

Class. Among the questions of law and fact common to the Class are:

            •    whether the federal securities laws were violated by Defendants’ acts
                 as alleged herein;

            •    whether statements made by Defendants to the investing public during
                 the Class Period misrepresented material facts about the business,
                 operations and management of Celsion;

            •    whether the Individual Defendants caused Celsion to issue false and
                 misleading financial statements during the Class Period;

            •    whether Defendants acted knowingly or recklessly in issuing false and
                 misleading financial statements;

            •    whether the prices of Celsion securities during the Class Period were
                 artificially inflated because of the Defendants’ conduct complained of
                 herein; and

            •    whether the members of the Class have sustained damages and, if so,
                 what is the proper measure of damages.

      67.       A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy since joinder of all members is

impracticable. Furthermore, as the damages suffered by individual Class members

may be relatively small, the expense and burden of individual litigation make it

impossible for members of the Class to individually redress the wrongs done to them.

There will be no difficulty in the management of this action as a class action.



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      68.       Plaintiff will rely, in part, upon the presumption of reliance established

by the fraud-on-the-market doctrine in that:

            •    Defendants made public misrepresentations or failed to disclose
                 material facts during the Class Period;

            •    the omissions and misrepresentations were material;

            •    Celsion securities are traded in an efficient market;

            •    the Company’s shares were liquid and traded with moderate to heavy
                 volume during the Class Period;

            •    the Company traded on the NASDAQ and was covered by multiple
                 analysts;

            •    the misrepresentations and omissions alleged would tend to induce a
                 reasonable investor to misjudge the value of the Company’s
                 securities; and

            •    Plaintiff and members of the Class purchased, acquired and/or sold
                 Celsion securities between the time the Defendants failed to disclose
                 or misrepresented material facts and the time the true facts were
                 disclosed, without knowledge of the omitted or misrepresented facts.

      69.       Based upon the foregoing, Plaintiff and the members of the Class are

entitled to a presumption of reliance upon the integrity of the market.

      70.       Alternatively, Plaintiff and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens

of the State of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as

Defendants omitted material information in their Class Period statements in violation

of a duty to disclose such information, as detailed above.



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                                      COUNT I

 (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated
                      Thereunder Against All Defendants)

      71.    Plaintiff repeats and re-alleges each and every allegation contained

above as if fully set forth herein.

      72.    This Count is asserted against Defendants and is based upon Section

10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated

thereunder by the SEC.

      73.    During the Class Period, Defendants engaged in a plan, scheme,

conspiracy and course of conduct, pursuant to which they knowingly or recklessly

engaged in acts, transactions, practices and courses of business which operated as a

fraud and deceit upon Plaintiff and the other members of the Class; made various

untrue statements of material facts and omitted to state material facts necessary in

order to make the statements made, in light of the circumstances under which they

were made, not misleading; and employed devices, schemes and artifices to defraud

in connection with the purchase and sale of securities. Such scheme was intended

to, and, throughout the Class Period, did: (i) deceive the investing public, including

Plaintiff and other Class members, as alleged herein; (ii) artificially inflate and

maintain the market price of Celsion securities; and (iii) cause Plaintiff and other

members of the Class to purchase or otherwise acquire Celsion securities and options



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at artificially inflated prices. In furtherance of this unlawful scheme, plan and course

of conduct, Defendants, and each of them, took the actions set forth herein.

      74.    Pursuant to the above plan, scheme, conspiracy and course of conduct,

each of the Defendants participated directly or indirectly in the preparation and/or

issuance of the quarterly and annual reports, SEC filings, press releases and other

statements and documents described above, including statements made to securities

analysts and the media that were designed to influence the market for Celsion

securities. Such reports, filings, releases and statements were materially false and

misleading in that they failed to disclose material adverse information and

misrepresented the truth about Celsion’s finances and business prospects.

      75.      By virtue of their positions at Celsion, Defendants had actual

knowledge of the materially false and misleading statements and material omissions

alleged herein and intended thereby to deceive Plaintiff and the other members of

the Class, or, in the alternative, Defendants acted with reckless disregard for the truth

in that they failed or refused to ascertain and disclose such facts as would reveal the

materially false and misleading nature of the statements made, although such facts

were readily available to Defendants. Said acts and omissions of Defendants were

committed willfully or with reckless disregard for the truth. In addition, each

Defendant knew or recklessly disregarded that material facts were being

misrepresented or omitted as described above.


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      76.     Information showing that Defendants acted knowingly or with reckless

disregard for the truth is peculiarly within Defendants’ knowledge and control. As

the senior managers and/or directors of Celsion, the Individual Defendants had

knowledge of the details of Celsion’s internal affairs.

      77.     The Individual Defendants are liable both directly and indirectly for the

wrongs complained of herein. Because of their positions of control and authority,

the Individual Defendants were able to and did, directly or indirectly, control the

content of the statements of Celsion. As officers and/or directors of a publicly-held

company, the Individual Defendants had a duty to disseminate timely, accurate, and

truthful information with respect to Celsion’s businesses, operations, future financial

condition and future prospects.         As a result of the dissemination of the

aforementioned false and misleading reports, releases and public statements, the

market price of Celsion securities was artificially inflated throughout the Class

Period.     In ignorance of the adverse facts concerning Celsion’s business and

financial condition which were concealed by Defendants, Plaintiff and the other

members of the Class purchased or otherwise acquired Celsion securities at

artificially inflated prices and relied upon the price of the securities, the integrity of

the market for the securities and/or upon statements disseminated by Defendants,

and were damaged thereby.




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      78.    During the Class Period, Celsion securities were traded on an active and

efficient market. Plaintiff and the other members of the Class, relying on the

materially false and misleading statements described herein, which the Defendants

made, issued or caused to be disseminated, or relying upon the integrity of the

market, purchased or otherwise acquired shares of Celsion securities at prices

artificially inflated by Defendants’ wrongful conduct. Had Plaintiff and the other

members of the Class known the truth, they would not have purchased or otherwise

acquired said securities, or would not have purchased or otherwise acquired them at

the inflated prices that were paid. At the time of the purchases and/or acquisitions

by Plaintiff and the Class, the true value of Celsion securities was substantially lower

than the prices paid by Plaintiff and the other members of the Class. The market

price of Celsion securities declined sharply upon public disclosure of the facts

alleged herein to the injury of Plaintiff and Class members.

      79.    By reason of the conduct alleged herein, Defendants knowingly or

recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

      80.    As a direct and proximate result of Defendants’ wrongful conduct,

Plaintiff and the other members of the Class suffered damages in connection with

their respective purchases, acquisitions and sales of the Company’s securities during




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the Class Period, upon the disclosure that the Company had been disseminating

misrepresented financial statements to the investing public.

                                     COUNT II

    (Violations of Section 20(a) of the Exchange Act Against the Individual
                                   Defendants)

      81.    Plaintiff repeats and re-alleges each and every allegation contained in

the foregoing paragraphs as if fully set forth herein.

      82.    During the Class Period, the Individual Defendants participated in the

operation and management of Celsion, and conducted and participated, directly and

indirectly, in the conduct of Celsion’s business affairs. Because of their senior

positions, they knew the adverse non-public information about Celsion’s

misstatement of income and expenses and false financial statements.

      83.    As officers and/or directors of a publicly owned company, the

Individual Defendants had a duty to disseminate accurate and truthful information

with respect to Celsion’s financial condition and results of operations, and to correct

promptly any public statements issued by Celsion which had become materially false

or misleading.

      84.    Because of their positions of control and authority as senior officers,

the Individual Defendants were able to, and did, control the contents of the various

reports, press releases and public filings which Celsion disseminated in the

marketplace during the Class Period concerning Celsion’s results of operations.
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Throughout the Class Period, the Individual Defendants exercised their power and

authority to cause Celsion to engage in the wrongful acts complained of herein. The

Individual Defendants therefore, were “controlling persons” of Celsion within the

meaning of Section 20(a) of the Exchange Act. In this capacity, they participated in

the unlawful conduct alleged which artificially inflated the market price of Celsion

securities.

       85.    Each of the Individual Defendants, therefore, acted as a controlling

person of Celsion. By reason of their senior management positions and/or being

directors of Celsion, each of the Individual Defendants had the power to direct the

actions of, and exercised the same to cause, Celsion to engage in the unlawful acts

and conduct complained of herein. Each of the Individual Defendants exercised

control over the general operations of Celsion and possessed the power to control

the specific activities which comprise the primary violations about which Plaintiff

and the other members of the Class complain.

       86.    By reason of the above conduct, the Individual Defendants are liable

pursuant to Section 20(a) of the Exchange Act for the violations committed by

Celsion.


                             PRAYER FOR RELIEF

WHEREFORE, Plaintiff demands judgment against Defendants as follows:



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      A.     Determining that the instant action may be maintained as a class action

under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiff as the

Class representative;

      B.     Requiring Defendants to pay damages sustained by Plaintiff and the

Class by reason of the acts and transactions alleged herein;

      C.     Awarding Plaintiff and the other members of the Class prejudgment and

post-judgment interest, as well as their reasonable attorneys’ fees, expert fees and

other costs; and

      D.     Awarding such other and further relief as this Court may deem just and

proper.

                        DEMAND FOR TRIAL BY JURY

      Plaintiff hereby demands a trial by jury.

Dated: October 29, 2020                       Respectfully submitted,

                                              POMERANTZ LLP


                                              /s/ Gustavo F. Bruckner
                                              Gustavo F. Bruckner
                                              Jeremy A. Lieberman
                                              (pro hac vice application forthcoming)
                                              J. Alexander Hood II
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                                              New York, New York 10016
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                                    CERTIFICATION PURSUANT
                                   TO FEDERAL SECURITIES LAWS


         1.       I, _______SHLOMO SPAR___________________________________, make this

declaration pursuant to Section 27(a)(2) of the Securities Act of 1933 (“Securities Act”) and/or Section

21D(a)(2) of the Securities Exchange Act of 1934 (“Exchange Act”) as amended by the Private Securities

Litigation Reform Act of 1995.

         2.       I have reviewed a Complaint against Celsion Corporation (“Celsion” or the “Company”)

and authorize the filing of a comparable complaint on my behalf.

         3.       I did not purchase or acquire Celsion securities at the direction of plaintiffs’ counsel or in

order to participate in any private action arising under the Securities Act or Exchange Act.

         4.       I am willing to serve as a representative party on behalf of a Class of investors who

purchased or otherwise acquired Celsion securities during the class period, including providing testimony

at deposition and trial, if necessary. I understand that the Court has the authority to select the most adequate

lead plaintiff in this action.

         5.       To the best of my current knowledge, the attached sheet lists all of my transactions in

Celsion securities during the Class Period as specified in the Complaint.

         6.       During the three-year period preceding the date on which this Certification is signed, I have

not served or sought to serve as a representative party on behalf of a class under the federal securities laws.

         7.       I agree not to accept any payment for serving as a representative party on behalf of the

class as set forth in the Complaint, beyond my pro rata share of any recovery, except such reasonable costs

and expenses directly relating to the representation of the class as ordered or approved by the Court.
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      8.     I declare under penalty of perjury that the foregoing is true and correct.



Executed _____10/8/20________________________
              (Date)



                                               _______________________________________
                                                      (Signature)


                                               ______Shlomo___Spar________________________
                                                     (Type or Print Name)
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Celsion Corporation (CLSN)                                                                              Spar, Shlomo

                                           List of Purchases and Sales

       Security              Transaction                                 Number of                Price Per
      Description               Type           Date                      Shares/Unit              Share/Unit

    Common Stock              Purchase                5/22/2020                         14,100                 $3.0000
    Common Stock              Purchase                5/22/2020                         15,000                 $2.8400
    Common Stock              Purchase                5/22/2020                          5,500                 $2.9900
    Common Stock              Purchase                5/22/2020                            900                 $2.9900
    Common Stock              Purchase                6/16/2020                          2,400                 $4.8600
    Common Stock              Purchase                6/16/2020                          2,500                 $4.8700
    Common Stock              Purchase                6/16/2020                          3,425                 $4.8400
    Common Stock              Purchase                6/16/2020                            400                 $4.8500
    Common Stock              Purchase                6/16/2020                          4,948                 $4.8698
    Common Stock              Purchase                6/16/2020                            700                 $4.8300
    Common Stock              Purchase                6/17/2020                            200                 $5.3560
    Common Stock              Purchase                6/17/2020                            263                 $5.6900
    Common Stock              Purchase                6/17/2020                          3,696                 $5.5600
    Common Stock              Purchase                6/17/2020                          4,901                 $5.0899
    Common Stock              Purchase                6/17/2020                            500                 $5.3300
    Common Stock              Purchase                6/17/2020                            500                 $5.3584
    Common Stock              Purchase                6/17/2020                            527                 $5.6900
    Common Stock              Purchase                6/17/2020                            600                 $5.3200
    Common Stock              Purchase                6/17/2020                          7,400                 $5.3500
    Common Stock              Purchase                6/17/2020                            800                 $5.3400
    Common Stock              Purchase                6/18/2020                          1,500                 $4.6395
    Common Stock              Purchase                6/19/2020                          5,650                 $4.7700
    Common Stock              Purchase                6/22/2020                         10,000                 $3.9300
    Common Stock              Purchase                6/22/2020                          2,500                 $4.4100
    Common Stock              Purchase                6/22/2020                          3,500                 $4.3600
    Common Stock              Purchase                6/22/2020                          4,400                 $3.9799
    Common Stock              Purchase                6/22/2020                            600                 $3.9750
    Common Stock              Purchase                6/22/2020                          7,000                 $4.1600
    Common Stock              Purchase                 7/1/2020                          2,000                 $3.7699
    Common Stock              Purchase                 7/6/2020                            100                 $3.8900
    Common Stock              Purchase                 7/6/2020                         10,000                 $3.9500
    Common Stock              Purchase                 7/6/2020                          7,200                 $3.8100
    Common Stock              Purchase                 7/7/2020                         13,460                 $3.8400
    Common Stock              Purchase                 7/7/2020                          1,540                 $3.8300
    Common Stock              Purchase                 7/7/2020                          1,800                 $3.8400
    Common Stock              Purchase                 7/7/2020                            200                 $3.8300
    Common Stock              Purchase                 7/7/2020                            400                 $3.8150
    Common Stock              Purchase                 7/7/2020                          5,000                 $3.8190
    Common Stock              Purchase                 7/8/2020                            100                 $3.7750
    Common Stock              Purchase                 7/8/2020                            100                 $3.7850
    Common Stock              Purchase                 7/8/2020                          1,000                 $3.6798
    Common Stock              Purchase                 7/8/2020                          1,013                 $3.6800
    Common Stock              Purchase                 7/8/2020                          1,050                 $3.7900
    Common Stock              Purchase                 7/8/2020                          1,082                 $3.7800
    Common Stock              Purchase                 7/8/2020                          1,900                 $3.7850
    Common Stock              Purchase                 7/8/2020                          2,200                 $3.6600
    Common Stock              Purchase                 7/8/2020                         23,100                 $3.7900
    Common Stock              Purchase                 7/8/2020                         30,088                 $3.7800
    Common Stock              Purchase                 7/8/2020                            400                 $3.7200
    Common Stock              Purchase                 7/8/2020                          4,504                 $3.7099
    Common Stock              Purchase                 7/8/2020                            539                 $3.7100
    Common Stock              Purchase                 7/8/2020                            600                 $3.7050
    Common Stock              Purchase                 7/8/2020                          6,061                 $3.7099
    Common Stock              Purchase                 7/8/2020                            683                 $3.6799
    Common Stock                Sale                  5/22/2020                        (15,000)                $3.1500
    Common Stock                Sale                  5/22/2020                           (200)                $3.1800
    Common Stock                Sale                  5/22/2020                        (20,300)                $3.1700
    Common Stock                Sale                   7/8/2020                         (1,800)                $3.6302
    Common Stock                Sale                   7/8/2020                        (48,200)                $3.6300
CLSN Jul 17 2020 7.5 Cal      Purchase                 7/2/2020                           (350)                $0.2500
